Case: 1:19-cv-07915 Document #: 49-3 Filed: 08/28/20 Page 1 of 12 PageID #:1364




                   EXHIBIT C
  Case:
     Case:
        1:19-cv-07915
            1:20-cv-04699
                      Document
                          Document
                               #: 49-3
                                   #: 1Filed:
                                        Filed:08/28/20
                                               08/16/20Page
                                                        Page21ofof12
                                                                   7 PageID
                                                                     PageID #:1
                                                                            #:1365




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



 IN RE: TIKTOK INC. CONSUMER                        MDL No. 2948
 PRIVACY LITIGATION
                                                    No.1:20-cv-04699

                                                        Hon. John Z. Lee



 E.R., a Minor, through her Guardian, L.H.,         No. 1:20-cv-02810
 K.M., a Minor, through her Guardian, C.M.,
 D.M., a minor, through her Guardian, D.H.,             CONSOLIDATED ACTION
 L.B., a minor, by and through his or her
 guardian, Molly Janik, H.S., a Minor, through          Hon. John Z. Lee
 her Guardian, J.S., N.T. and L.T., minors, by
 and through their guardian, Darcy Tellone,
 S.P., J.P., K.P., G.P., minors, by and through
 their guardian, Katie Patterman, each
 individually and on behalf of all others
 similarly situated,

       Plaintiffs,

 v.

 TIKTOK, INC. and BYTEDANCE, INC.,

       Defendants.


                                    JOINT STATUS REPORT

       As ordered by this Court on June 18, 2020 [ECF No. 37], Plaintiffs and Defendants

submit this joint status report and state as follows:

       1.        This Consolidated Action includes seven of the nineteen cases subject to the

recent centralization order issued by the Judicial Panel on Multi-District Litigation (“JPML”) on

August 4, 2020 selecting this Court as the transferee district (hereinafter the “MDL”). See
  Case:
     Case:
        1:19-cv-07915
            1:20-cv-04699
                      Document
                          Document
                               #: 49-3
                                   #: 1Filed:
                                        Filed:08/28/20
                                               08/16/20Page
                                                        Page32ofof12
                                                                   7 PageID
                                                                     PageID #:2
                                                                            #:1366




Exhibit A attached hereto. The administrative transfer of cases subject to the JPML’s Transfer

Order has not yet been completed.

       2.       This Court appointed Katrina Carroll as interim lead Plaintiffs’ counsel for this

Consolidated Action, pending the JPML proceedings. [ECF No. 18]. During the pendency of the

proceedings before the JPML, Ms. Carroll worked successfully with defense counsel to arrange

for and schedule a global mediation of all claims subject to the JPML petition.

       3.      All counsel in the Consolidated Action, along with counsel in every other case

subject to the JPML proceedings (except for counsel in the Consolidated Northern District of

California action) worked cooperatively and efficiently in preparing for the mediation and, more

generally, throughout the history of this litigation. On August 13, 2020, representatives on

behalf of 11 of 19 cases in the MDL (together with defense counsel, the “Settling Parties”)

participated in a 12-hour mediation session with the Honorable Layn Phillips.

       4.       As a result of the good work of Judge Phillips, and all participating parties and

their counsel, the Settling Parties reached a settlement in principle, subject to certain conditions,

which will resolve all of the claims asserted in the MDL, on a class-wide basis.

       5.      Defendant TikTok is currently subject to a presidential executive order issued

August 6, 2020 that threatens to ban TikTok from conducting business in the United States.

TikTok is also reportedly a potential target for acquisition by multiple third parties, as mentioned

in recent news articles. In light of these factors, it is imperative to TikTok to maintain the

mediation privilege and strict confidentiality concerning the terms of the settlement until the

settlement is disclosed publicly and to this Court, as part of the settlement approval process

pursuant to Fed. R. Civ. P. 23.




                                                  2
  Case:
     Case:
        1:19-cv-07915
            1:20-cv-04699
                      Document
                          Document
                               #: 49-3
                                   #: 1Filed:
                                        Filed:08/28/20
                                               08/16/20Page
                                                        Page43ofof12
                                                                   7 PageID
                                                                     PageID #:3
                                                                            #:1367




        6.     The Settling Parties anticipate finalizing the settlement, satisfying the necessary

conditions, and being able to file a motion for preliminary approval of the settlement within 90

days.

        7.     The Settling Parties support a stay of the cases comprising the MDL, pending the

filing of the motion for preliminary approval of the settlement. The Settling Parties further

suggest that this Court schedule the initial status conference for the MDL on the same date as the

hearing for preliminary approval of the settlement, which should occur on or before November

16, 2020.

                                      Respectfully submitted,

Date: August 16, 2020                 CARLSON LYNCH LLP

                                      /s/ Katrina Carroll
                                      Katrina Carroll
                                      kcarroll@carlsonlynch.com
                                      Kyle A. Shamberg
                                      kshamberg@ carlsonlynch.com
                                      Nicholas R. Lange
                                      nlange@carlsonlynch.com
                                      111 W. Washington Street, Suite 1240
                                      Chicago, IL 60602
                                      Telephone: (312) 750-1265

                                      Interim Lead Counsel

                                      Douglas A. Millen
                                      Brian M. Hogan
                                      FREED KANNER LONDON &
                                         MILLEN LLC
                                      2201 Waukegan Road, Suite 130
                                      Bannockburn, Illinois 60015
                                      Tel.: (224) 632-4500
                                      Fax: (224) 632-4521
                                      dmillen@fklmlaw.com
                                      bhogan@fklmlaw.com

                                      Jonathan M. Jagher
                                      Kimberly A. Justice

                                                 3
Case:
   Case:
      1:19-cv-07915
          1:20-cv-04699
                    Document
                        Document
                             #: 49-3
                                 #: 1Filed:
                                      Filed:08/28/20
                                             08/16/20Page
                                                      Page54ofof12
                                                                 7 PageID
                                                                   PageID #:4
                                                                          #:1368




                              FREED KANNER LONDON &
                                 MILLEN LLC
                              923 Fayette St.
                              Conshohocken, PA 19428
                              Tel.: (610) 234-6487
                              Fax: (224) 632-4521
                              jjagher@fklmlaw.com
                              kjustice@fklmlaw.com

                              Jennifer W. Sprengel
                              Daniel O. Herrera
                              Nickolas J. Hagman
                              CAFFERTY CLOBES MERIWETHER
                                  & SPRENGEL LLP
                              150 S. Wacker, Suite 3000
                              Chicago, Illinois 60606
                              Telephone: 312-782-4880
                              Facsimile: 318-782-4485
                              jsprengel@caffertyclobes.com
                              dherrera@caffertyclobes.com
                              nhagman@caffertyclobes.com

                              Joseph G. Sauder
                              Joseph B. Kenney
                              SAUDER SCHELKOPF LLC
                              1109 Lancaster Avenue
                              Berwyn, PA 19312
                              Telephone: (610) 200-0580
                              Fax: (610) 421-1326
                              jgs@sstriallawyers.com
                              jbk@sstriallawyers.com

                              Richard R. Gordon
                              GORDON LAW OFFICES, LTD.
                              111 West Washington Street
                              Suite 1240
                              Chicago, Illinois 60602
                              Tel: (312) 332-5200
                              Fax: (312) 242-4966
                              rrg@gordonlawchicago.com

                              James B. Zouras
                              Ryan F. Stephan
                              Andrew C. Ficzko
                              Megan E. Shannon
                              STEPHAN ZOURAS, LLP

                                       4
  Case:
     Case:
        1:19-cv-07915
            1:20-cv-04699
                      Document
                          Document
                               #: 49-3
                                   #: 1Filed:
                                        Filed:08/28/20
                                               08/16/20Page
                                                        Page65ofof12
                                                                   7 PageID
                                                                     PageID #:5
                                                                            #:1369




                                100 N. Riverside Plaza,
                                Suite 2150
                                Chicago, Illinois 60606
                                312.233.1550
                                312.233.1560 f
                                rstephan@stephanzouras.com
                                jzouras@stephanzouras.com
                                aficzko@stephanzouras.com
                                mshannon@stephanzouras.com

                                Erik H. Langeland (pro hac vice
                                forthcoming)
                                733 Third Avenue, 15th Floor
                                New York, N.Y. 10017
                                (212) 354-6270
                                elangeland@langelandlaw.com

                                Jon A. Tostrud (pro hac vice forthcoming)
                                TOSTRUD LAW GROUP, P.C.
                                1925 Century Park East, Suite 2100
                                Los Angeles, CA 90067
                                (310) 278-2600
                                jtostrud@tostrudlaw.com

                                Elizabeth A. Fegan
                                FEGAN SCOTT LLC
                                150 S. Wacker Dr., 24th Floor
                                Chicago, IL 60606
                                Phone: 312.741.1019
                                Fax: 312.264.0100
                                beth@feganscott.com

                                Melissa Ryan Clark (pro hac vice application forthcoming)
                                Jonathan D. Lindenfeld (pro hac vice application
                                forthcoming)
                                FEGAN SCOTT LLC
                                140 Broadway, 46th Floor
                                New York, NY 10005
                                Phone: 332.216.2101
                                Fax: 917.725.9346
                                melissa@feganscott.com
                                jonathan@feganscott.com

                                Counsel for Plaintiffs and the Putative Class

Date: August 16, 2020           WILSON SONSINI GOODRICH & ROSATI

                                          5
Case:
   Case:
      1:19-cv-07915
          1:20-cv-04699
                    Document
                        Document
                             #: 49-3
                                 #: 1Filed:
                                      Filed:08/28/20
                                             08/16/20Page
                                                      Page76ofof12
                                                                 7 PageID
                                                                   PageID #:6
                                                                          #:1370




                              Professional Corporation

                              /s/ Anthony J Weibell
                              650 Page Mill Road
                              Palo Alto, CA 94304-1050
                              Telephone: (650) 493-9300
                              Facsimile: (650) 565-5100
                              Email: aweibell@wsgr.com

                              Counsel for Defendants ByteDance Inc. and TikTok
                              Inc.




                                       6
  Case:
     Case:
        1:19-cv-07915
            1:20-cv-04699
                      Document
                          Document
                               #: 49-3
                                   #: 1Filed:
                                        Filed:08/28/20
                                               08/16/20Page
                                                        Page87ofof12
                                                                   7 PageID
                                                                     PageID #:7
                                                                            #:1371




                                CERTIFICATE OF SERVICE

       I hereby certify that on August 16, 2020, the foregoing document was filed electronically

through the Court’s Electronic Case Filing System. Service of this document is being made upon

all counsel of record in this case by the Notice of Electronic Filing issued through the Court’s

Electronic Case Filing System on this date.

                                                     /s/ Katrina Carroll

                                                     Katrina Carroll




                                                 7
Case:
  Case:
      1:19-cv-07915
         1:20-cv-04699
                    Document
                       Document
                             #: 49-3
                                 #: 1-1
                                      Filed:
                                        Filed:
                                             08/28/20
                                               08/16/20
                                                      Page
                                                        Page
                                                           9 of
                                                             1 of
                                                                124PageID
                                                                   PageID#:1372
                                                                          #:8




       EXHIBIT A
Case:
   Case:
      1:19-cv-07915
          1:20-cv-04699
                    Document
                        Document
                             #: 49-3
                                 #: 1-1
                                     Filed:
                                        Filed:
                                            08/28/20
                                               08/16/20
                                                     Page
                                                        Page
                                                          102ofof12
                                                                  4 PageID #:1373
                                                                           #:9
Case:
  Case:
      1:19-cv-07915
         1:20-cv-04699
                    Document
                       Document
                             #: 49-3
                                 #: 1-1
                                      Filed:
                                        Filed:
                                             08/28/20
                                               08/16/20
                                                      Page
                                                        Page
                                                           113of
                                                               of12
                                                                  4 PageID
                                                                    PageID#:10
                                                                           #:1374
Case:
  Case:
      1:19-cv-07915
         1:20-cv-04699
                    Document
                       Document
                             #: 49-3
                                 #: 1-1
                                      Filed:
                                        Filed:
                                             08/28/20
                                               08/16/20
                                                      Page
                                                        Page
                                                           124of
                                                               of12
                                                                  4 PageID
                                                                    PageID#:11
                                                                           #:1375
